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           EXHIBIT E
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Kahn Swick & Foti, LLC


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Kahn Swick & Foti, LLC



The Firm
Kahn      Swick      &     Foti,    LLC    (“KSF”)
(www.ksfcounsel.com) is a boutique law firm
                                                        “[Kahn Swick & Foti] earned my
                                                        unyielding admiration and
with offices in New York City, San Francisco
                                                        respect in this case for the
and Louisiana. KSF focuses predominantly on
                                                        efficient and exceptionally
class actions, in the areas of securities and
                                                        reasonable way in which they
mergers & acquisitions, and on shareholder              found a prompt, fair, and
derivative and other complex litigation. Since its      equitable solution to the complex
inception in 2000, KSF has recovered hundreds           problems their clients faced...”
of millions of dollars for its clients.
                                                                  Hon. Mark W. Bennett,
KSF’s Lawyers have extensive experience                           United States District Judge
                                                                  In Re: Elgaouni v. Meta Financial Group, Inc.
litigating complex cases in the following practice
areas: (i) securities litigation; (ii) corporate governance and derivative litigation; (iii) consumer protection
litigation; (iv) shareholder merger and acquisition class action litigation; and (v) antitrust litigation. A
sampling of the firm’s current cases and recent recoveries is set forth below.



Securities Litigation

CURRENT CASES
Bellingham v. Qudian Inc., et al., 1:20-cv-0577-GHW
    Southern District of New York
    Co-Lead Counsel

In re CarLotz, Inc. Securities Litigation, Case No. 1:21-cv-05906-RA
    Southern District of New York
    Lead Counsel

In re Chicago Bridge & Iron Co. N.V. Securities Litigation, No. 1:17-cv-1580-LGS
    Southern District of New York
    Lead Counsel

In Re Cloudera Securities Litigation, 5:19-cv-03221-LHK
    Northern District of California
    Lead Counsel

Farrar v. Workhorse Group Inc., et al, No. 2:21-cv-02072-CJC-PVC
    Central District of California
    Lead Counsel




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Hogan v. Pilgrim's Pride Corp., et al, 1:16-cv-02611-RBJ
   District of Colorado
   Lead Counsel

Kanefsky v. Honeywell International, Inc., et al., Case No. 2:18-cv-15536-WJM-JAD
   District of New Jersey
   Lead Counsel

Moradpour v. Velodyne Lidar, Inc., et al., Case No. 3:21-CV-01486-SI
   Northern District of California
   Lead Counsel

In re Pareteum Securities Litigation, Case No. 1:19-cv-09767-AKH-GWG
    Southern District of New York
    Lead Counsel

Pearlstein v. Blackberry Ltd., et al., 1:13-CV-07060-TPG
   Southern District of New York
   Lead Counsel

Sandoz v. Waterdrop Inc. et al., Case No. 1:21-cv-7683-VSB
   Southern District of New York
   Lead Counsel

Siegel v. The Boston Beer Company, Inc. et al., Case No. 1:21-cv-7693-VSB
    Southern District of New York
    Lead Counsel

Welch v. Meaux, et al., No. 19-1260
   Western District of Louisiana
   Lead Counsel


RECENT VICTORIES
Meysam Moradpour, et al. v. Velodyne Lidar, Inc., et al., No. 21-cv-01486-SI (N.D. Cal.). On July 1,
2022, the Hon. Susan Illston, United States District Judge for the Northern District of California, entered
an Order partially denying Defendants’ motion to dismiss Lead Plaintiffs’ securities fraud complaint
against corporate Defendant Velodyne Lidar, Inc. and individual Defendants Anand Gopalan, James
Graf, and Michael Dee. This matter, in which Kahn Swick & Foti, LLC serves as sole Lead Counsel,
alleges that Defendants Velodyne, Gopalan, and Dee made, inter alia, materially false and misleading
statements regarding company founder David Hall’s post-merger role in the continuing Company, and
further failed to disclose to investors that the audit committee was investigating Mr. Hall until February
22, 2021, when Velodyne abruptly announced his removal as Chairman of the Board. On this revelation,
the Company’s stock declined approximately 15%. In her Order, Judge Illston found that “[t]he
complaint adequately alleges that defendants Velodyne, Gopalan, and Dee intentionally touted Hall’s
continued involvement in Velodyne throughout the Class Period while taking actions that ‘directly
contradict[ed]’ the notion that Hall maintained a key leadership role.” Judge Illston further found that



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the complaint “also adequately alleges a violation of Section 20(a) against Gopalan, Dee, and Graf as
control persons of Velodyne.” This matter is now in discovery.

Siegel v. The Boston Beer Company, Inc. et al., Case No. 1:21-cv-7693-VSB (S.D.N.Y.). On
December 14, 2021, the Hon. Vernon S. Broderick, United States District Judge for the Southern District
of New York, entered an Order approving the selection of KSF as Lead Counsel for the putative Class.
Boston Beer and certain of its executives are charged with violating the federal securities laws through
misrepresentations and omissions during the Class Period regarding rapidly decelerating hard seltzer
sales.

Sandoz v. Waterdrop Inc. et al., Case No. 1:21-cv-7683-VSB (S.D.N.Y.). On December 8, 2021, the
Hon. Vernon S. Broderick, United States District Judge for the Southern District of New York, entered
an Order approving the selection of KSF as Lead Counsel for the putative Class. Waterdrop and certain
of its executives are charged with violating the federal securities laws through misrepresentations and
omissions concerning the Company’s short-term financial results leading up to the Company’s Initial
Public Offering.

Farrar v. Workhorse Group, Inc. et al., Case No. 2:21-cv-02072-CJC-PVC (C.D. Cal.). On December
2, 2021, the Hon. Cormac J. Carney, United States District Judge for the Central District of California,
entered an Order denying, in substantial part, Defendants’ motion to dismiss against Workhorse Group,
Inc. and individual defendants Duane Hughes and Steve Schrader. This matter, in which Kahn Swick
& Foti, LLC is Lead Counsel, alleges that Defendants made materially false and misleading statements
and failed to disclose material information regarding the Company’s manufacturing capabilities and its
capacity to deliver electric vehicles. The matter further alleges that when the full truth was finally brought
to light on February 23, 2021, the Company’s stock declined over 47% from February 22 to February
23. Judge Carney agreed, finding Lead Plaintiff’s allegations were “indicative of scienter, because they
tend to show that Workhorse and its executives knew they did not have the manufacturing capability to
meet their production projections or the touted demand for their vehicles.”

In re CarLotz, Inc. Securities Litigation, Case No. 1:21-cv-05906-RA (S.D.N.Y.). On October 15,
2021, the Hon. Ronnie Abrams, United States District Judge for the Southern District of New York,
entered an Order approving the selection of KSF as Lead Counsel for the putative Class. CarLotz and
certain of its executives are charged with violating the federal securities laws through
misrepresentations and omissions during the Class Period regarding their business and business
model in order to garner investor support for a merger between CarLotz and SPAC Acamar and
artificially inflate the price of their stock.




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In re Chicago Bridge & Iron Co. N.V. Secs. Litig., Case No. 1:17-cv-1580-LGS (S.D.N.Y). On August
23, 2021, the Honorable Lorna G. Schofield entered an Opinion and Order substantially denying a
motion for summary judgment filed by Defendant Chicago Bridge & Iron Company N.V. (“CBI”) and
Individual Defendants Philip K. Asherman, Ronald A. Ballschmiede, and Westley S. Stockton. In their
Motion, Defendants argued that no reasonable jury could find 16 statements about the performance of,
and accounting relating to, CBI’s nuclear business (the “Challenged Statements”) were false and
misleading or made with scienter. The District Court rejected most of Defendants’ arguments and held
a reasonable jury could find that all but one of the Challenged Statements were made with scienter,
and that all but one of the Challenged Statements “provided inadequate context, with the effect of
suggesting facts starkly at odds with much of the record evidence.”

Dougherty v. Esperion Therapeutics, Inc., et al., No. 2:16-cv-10089 (E.D. Mich.). On August 24,
2021, the Hon. Arthur J. Tarnow, United States District Court Judge for the Eastern District of Michigan,
entered a final judgment in the securities class action lawsuit, approving Lead Plaintiffs’ $18.25 million
recovery for investors stating that KSF “pursued the Litigation and achieved the Settlement with skill,
perseverance, and diligent advocacy.”

Abramson v. NewLink Genetics Corp., 2020 U.S. App. LEXIS 21545, at *3 (2d Cir. July 13, 2020).
On July 13, 2020, a three-judge panel for the Second Circuit Court of Appeals vacated in part the
dismissal order of Hon. William H. Pauley III, reviving investors’ Exchange Act claims against NewLink
Genetics Corp. The detailed 26-page opinion written by Hon. John M. Walker, Jr., and designated for
publication, holds that “Plaintiffs plausibly pled material misrepresentation and loss causation for
Defendants’ statements about the scientific literature and the design of their clinical trial,” contrary to
the holding of the district court. Notably, the Second Circuit credited KSF’s loss causation theory as
“persuasive” and “compelling,” and provided significant development on this element of securities fraud
cases going forward. Id. at *28.

Kanefsky v. Honeywell International Inc. et al., Case No. 2:18-cv-15536-WJM-JAD (D. N.J.). On
May 18, 2020, Hon. William J. Martini, United States District Judge for the District of New Jersey,
entered an Order denying Defendants’ motion to dismiss by Honeywell, and individual defendants
Darius Adamczyk, and Thomas A. Szlosek. A third individual defendant was dismissed from the action.
This matter, in which Kahn Swick & Foti is Lead Counsel, alleges that Defendants made materially false
and misleading statements and failed to disclose material information regarding Honeywell’s liabilities
relating to former subsidiary Bendix Friction Materials’ use of asbestos in certain automotive products.
The matter further alleges that when the truth was finally brought to light on October 19, 2018 (after
Honeywell released its quarterly report for the third quarter of 2018), the stock fell from an opening




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price of $151.25 per share to $140.83 per share as of market close on October 24, 2018. Judge Martini
agreed, finding Lead Plaintiff’s “alleged facts raise a strong inference of scienter.”


SETTLED CASES
In re Petrobras Securities Litigation, No. 1:14-cv-9662 (S.D.N.Y.). Member of Plaintiffs’ Steering
Committee for the Individual Actions (“PSC”), federal securities class action against Brazil’s state-
controlled petrochemical company arising from “Operação Lava Jato,” the largest corruption scandal in
the history of Latin America, whereby Plaintiffs alleged Defendants deliberately overpaid on various
construction contracts in return for kickbacks. The Class action settled in 2018 for $3 billion and, as a
member of the PSC, KSF was found by the Court to have “made a substantial contribution to the class,”
June 22, 2018 Opinion and Order at 39 (D.E. 834).

Erica P. John Fund, Inc. v. Halliburton Co., et al., No. 3:02-cv-1152 (N.D. Tex.). Co-Class Counsel,
federal securities class action against oilfield services company and a high-level officer, in which Class
Counsel obtained a unanimous decision by the U.S. Supreme Court in Erica P. John Fund, Inc. v.
Halliburton Co., et al., 563 U.S. 804 (2011) vacating and remanding a decision of the Fifth Circuit, and
then successfully defeated Defendants’ attack on the Basic v. Levinson presumption of reliance in
Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398 (2014). These two Supreme Court decisions
led to certification of the class, and ultimately resulted in a cash settlement of $100 million for investors.

Dr. Joseph F. Kasper, et. al. v. AAC Holdings, Inc., et. al., 3:15-cv-00923 (Consolidated) (M.D.
Tenn.). Co-Lead Counsel, federal securities class action against a for-profit substance abuse treatment
provider, and certain officers and directors, arising from Defendants’ misleading statements regarding
a criminal investigation into the death of a patient, resulting in a settlement of $25 million for investors.

In re Virgin Mobile USA IPO Litigation, 2:07-cv-05619-SDW-MCA (D.N.J.), Co-Lead Counsel, federal
securities IPO-related class action against a company providing wireless communication services,
certain officers and directors, certain controlling shareholder entities, and Virgin’s underwriters,
resulting in a cash settlement of $19.5 million for investors.

Dougherty v. Esperion Therapeutics, Inc., et al., No. 2:16-cv-10089 (E.D. Mich.). Co-Lead Counsel,
federal securities action against a pharmaceutical company and its chief executive officer, arising from
misleading statements assuring the market that its sole drug candidate would not require a completed
(and costly) cardiovascular outcomes trial prior to approval, resulting in a settlement of $18.25 million
for investors.




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In Re Eletrobras Securities Litigation, Case No. 1:15-cv-05754 (Consolidated) (S.D.N.Y.). Co-Lead
Counsel, federal securities class action against Centrais Eletricas Brasileiras S.A. and several of its
former directors and officers, by U.S. investors after the company reported large losses related to a
sprawling corruption scandal in Brazil. Nearly three years of protracted litigation resulted in a settlement
of $14.75 million for investors.

Abramson v. NewLink Genetics Corp., et al., 1:16-cv-03545-AJN (S.D.N.Y.). Lead Counsel, federal
securities action against a pharmaceutical company and certain officers arising from Defendants’
misleading statements regarding the about the scientific literature and the design of their clinical trial
for a pancreatic cancer treatment candidate, resulting in a settlement of $13.5 million for investors.

In re Tesco PLC Securities Litigation, 14 Civ. 8495 (RMB) (S.D.N.Y.), Lead Counsel, federal
securities class action against one of the world's largest grocery and general merchandise retailers
based in the U.K., resulting in an all-cash settlement of $12 million for investors in ADRs and F shares
in the United States.

In re BigBand Networks, Inc Securities Litigation, 3:07-CV-05101-SBA (C.D. Cal.), Co-Lead
Counsel, federal securities class action brought against a computer hardware corporation, certain
officers and directors of the Company, and the Company’s Underwriters, resulting in a cash settlement
of $11 million for investors.

In re U.S. Auto Parts Networks, Inc. Securities Litigation, 2:07-cv-02030-GW-JC (C.D. Cal.), Lead
Counsel, federal securities IPO-related class action against an online automotive supply company,
certain members of its board of directors, and its underwriters, resulting in a cash settlement of $10
million for investors.

In re CytRx Corp. Securities Litigation, 2:14-CV-01956-GHK (PJWx) (C.D. Cal.), Lead Counsel,
federal securities class action brought against biotechnology corporation, certain officers and directors
of the Company, and the Company’s Underwriters, resulting in a settlement of $8.5 million for
investors.

Khoja v. Orexigen Therapeutics, Inc., et al., No. 3:15-cv-00540-JLS-AGS (S.D. Cal.). Lead Counsel,
federal securities class action against a pharmaceutical company, certain of its officers, and one its
directors, arising from Defendants’ misleading statements regarding their release and interpretation of
interim clinical study data purportedly demonstrating the cardiovascular benefits of the Company’s
obesity drug. The litigation spanned six years and multiple venues, including a lengthy and successful
appeals process before the Ninth Circuit Court of Appeals—which overturned much of the District
Court’s initial Order dismissing all claims against Defendants—and a successful defense of that victory


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before the United States Supreme Court. Additionally, KSF took steps to protect the interests of the
class in bankruptcy court after Orexigen filed for Chapter 11 bankruptcy. When the District Court
granted final approval of the $4.8 million settlement in 2021, it highlighted the “significant results for
the Settlement Class,” noting KSF’s “significant skill and extensive work” and that the “settlement may
not have been reached without Lead Counsel’s skill and expertise.”



Corporate Governance and Derivative Litigation

CURRENT CASES
In re Bed Bath & Beyond Inc. Stockholder Derivative Action, Index No. 516051/2020
    New York Supreme Court, Kings County
    Co-Lead Counsel

In re Cabot Oil & Gas Corp. Derivative Litigation, No. 21- 02046
    Southern District of Texas
    Additional Plaintiffs’ Counsel

Conte v. Greenberg (Skechers U.S.A., Inc. Derivative Litigation), C.A. No. 2022-0633
   Delaware Court of Chancery
   Plaintiffs’ Counsel

Dalton v. Surgner, et al. (Altria Group Inc. Derivative Litigation), No. CL21-5548-00
    Circuit Court for Henrico County, Virginia
    Plaintiffs’ Counsel

Khoury v. Williams, et al. (Groupon, Inc. Derivative Litigation), C.A. No. 2022-0077
   Delaware Court of Chancery
   Plaintiffs’ Counsel

Lyon v. AMC Entertainment Holdings, Inc., et al., No. 21-7940
   Southern District of New York
   Plaintiffs’ Counsel

In re Mattel, Inc. Stockholder Derivative Litigation, No. 2021-0417
    Delaware Court of Chancery
    Co-Lead Counsel

Price, et al. v. Michas, et al. (BorgWarner Inc. Derivative Litigation), No. 2022- 11131
    Eastern District of Michigan
    Co-Lead Counsel

Pfenning v. Jacobs, et al. (Acadia Healthcare Co., Inc. Derivative Litigation), C.A. No. 2020-0915
   Delaware Court of Chancery
   Plaintiff’s Counsel

In re ProAssurance Corp. Stockholder Derivative Litigation, C.A. No. 2022-0034
    Delaware Court of Chancery
    Co-Lead Counsel


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Weber, et al. v. Polk, et al. (Newell Brands, Inc. Derivative Litigation), C.A. No. 20-cv-01792
   District of Delaware
   Plaintiffs’ Counsel


SETTLED CASES
Orrego v. Lefkofsky (Groupon, Inc. Derivative Litigation), No. 12 CH 12420 (Ill. Cir. Ct, Cook Cnty.,
Ch. Div.). KSF acted as Co-Lead Counsel in the consolidated shareholder derivative action filed in the
Chancery Division of the Cook County Circuit Court in Illinois, which was brought derivatively on behalf
of Groupon, Inc. against certain of its current and former directors and officers for allegedly breaching
their fiduciary duties by, among other things, causing Groupon to issue or make materially false and
misleading statements and failing to implement necessary controls over Groupon’s accounting function.
KSF facilitated a settlement comprising of comprehensive corporate governance reforms with an
estimated value of $159 million, including changes to the Compensation Committee Charter,
implementation of director education requirements, enhanced Independent Director meeting
obligations, augmentations to the Audit Committee and Disclosure Committee rules and procedures,
creation of a new Director of Compliance position, and the retention of an independent auditing firm to
conduct an assessment of the company’s internal audit department.

In re Bank of America Corp. Securities, Derivative, & Employment Retirement Income Security
Act (ERISA) Litigation, 09 Civ.580 (DC) (S.D.N.Y.). KSF served as court appointed Co-Lead Counsel
in the Southern District of New York, and sued current and former executive officers and directors of
the company, on behalf of shareholders. The substance of this action focused on Bank of America's
January 1, 2009, acquisition of Merrill Lynch & Co., Inc. in a stock-for-stock transaction. This action
alleged, among other things, that certain material information was omitted from the proxy statement
filed with the Securities and Exchange Commission and mailed to stockholders on November 3, 2008.
This proxy was critical in allowing defendants to obtain shareholder consent for the issuance of shares
necessary to consummate the Merger. KSF was successful in resolving this action after defeating
motions to dismiss by multiple defendants. In addition to major corporate governance reforms, KSF
was also able to recover over $62.5 million for the company.

Bassett Family Trust v. Costolo, et al. (Twitter, Inc. Derivative Litigation), C.A. No. 2019-0806
(Del. Ch.). As counsel for the plaintiff in this demand wrongfully-refused shareholder derivative action,
KSF brought breach of fiduciary claims derivatively on behalf of Twitter, Inc. (“Twitter”) against certain
of its current and former directors and officers for breaches of duties involving false and misleading
statements about Twitter’s user engagement and growth and for insider trading. Plaintiffs were able to
secure a settlement providing that Twitter’s board of directors will pay $38 million in cash to Twitter.
Twitter’s board will also adopt a series of corporate governance reforms, which include (among other
things): (i) enhanced board independence and oversight reforms, including amendments to the charters


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for the Disclosure Committee and the Audit Committee; (ii) enhancements to oversight of corporate
strategy and risk, internal controls, and disclosures, including the creation of the Independent Chief
Compliance Officer; and (iii) enhancements to corporate policies regarding compliance training,
compensation, insider trading, and recapture of cash-based incentive compensation.

In re Barnes & Noble Stockholder Derivative Litigation, C.A. No. 4813 (Del. Ch.). As Co-Lead
Counsel in this shareholder derivative action filed in the Court of Chancery of the State of Delaware on
behalf of Barnes & Noble, Inc. against certain of its officers and directors, including Chairman Leonard
Riggio, related to the company’s 2009 acquisition of Mr. Riggio’s private company Barnes & Noble
College Booksellers, Inc., alleging that the purchase price, and the process by which it was agreed to,
was not entirely fair to Barnes & Noble, Inc. and harmed shareholders, KSF helped obtain a settlement
resulting in the recovery of $29 million for Barnes & Noble, Inc. in the form of reductions to the principal
and interest payable to Mr. Riggio.

Weil v. Baker (ArthroCare Corporation Derivative Litigation), No. 08-CA-00787 (W.D. Tex.). As Co-
Lead Counsel in the consolidated federal derivative action on behalf of ArthroCare Corporation against
certain of its officers and directors arising from alleged improprieties in the company’s marketing of
spine wands, KSF helped obtain a cash settlement of $8 million, along with important corporate
governance changes.

In re Fitbit, Inc. Stockholder Derivative Litigation, Consolidated C.A. No. 2017-0402 (Del. Ch.). As
Co-Lead Counsel in this shareholder derivative action filed in the Court of Chancery of the State of
Delaware on behalf of Fitbit, Inc. (“Fitbit”) against certain of its officers and directors, KSF alleged that
certain insiders made stock sales in the company’s initial public offering and—after agreeing to release
the insiders from lock-up agreements that barred them from trading for 180 days after the initial public
offering—an early secondary offering, taking take advantage of an artificially positive market response
to Fitbit’s flagship PurePulse heartrate monitoring technology. KSF was successful in resolving this
action after defeating the defendants’ motion to dismiss, recovering $5 million for Fitbit.

In re Conduent Incorporated Shareholder Derivative Litigation, Lead Case No. 650903/2021 (N.Y.
Sup. Ct., N.Y. Cnty., Ch. Div.). KSF acted as Co-Lead Counsel in the consolidated shareholder
derivative action filed in the New York Supreme Court, New York County, which was brought
derivatively on behalf of Conduent Incorporated against certain of its current and former directors and
officers for allegedly breaching their fiduciary duties by (i) failing to oversee its electronic tolling line of
business, resulting in fines, government complaints, and revenue withholding and (ii) causing the
Company to make materially false and misleading statements in press releases and SEC filings about
the known issues with it legacy information technology infrastructure that was impacting the Company’s



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financial guidance and growth. KSF facilitated a settlement comprising of robust and fulsome corporate
governance reforms, including Board refreshment, formation of the Corporate Social Responsibility and
Public Policy Committee, separation of the Chief Executive Officer and Chairperson positions,
enhancements to the duties and responsibilities of the Audit Committee regarding financial reporting
and internal controls, creation of a Board-level Risk Oversight Committee, addition of the Chief Risk
Officer to the management-level Disclosure Committee, adoption of an enhanced Amended
Compensation Recoupment Policy.

In re FAB Universal Corporation Shareholder Derivative Litigation, Lead Case No. 14-cv-687
(S.D.N.Y.). As sole Lead Counsel in this consolidated action, KSF brought breach of fiduciary claims
derivatively on behalf of FAB Universal Corporation against certain of its current and former directors
and officers. Claims brought included breaches of duties of loyalty, due care, good faith, independence,
candor and full disclosure to shareholders; misappropriation of material, non-public information of the
Company by certain individual defendants; and violations of Section 14(a) of the Securities Exchange
Act of 1934 and Rule 14a-9 promulgated thereunder. The action focused on defendants’ publication of
false and misleading statements concerning the Company's kiosk business in China, and the failure to
disclose the issuance of $16.4 million worth of bonds to Chinese investors in April 2013. KSF obtained
a settlement involving numerous corporate governance reforms, including the creation a new
Disclosure Committee to put effective procedures and protocols in place and designed to ensure that
all of the Company's public statements are vetted for accuracy, integrity and completeness. KSF was
also able to cause the Company to modify the Charter of the Audit Committee to provide that at least
one non-executive member of the Audit Committee has general expertise in accounting or financial
management. Modifications were also caused to be made to the Company’s Corporate Governance
Committee and to the Company’s Code of Conduct.

In re Fifth Street Finance Corp. Stockholder Litigation, Consolidated C.A. No. 12157 (Del. Ch.). As
Co-Lead Counsel in this shareholder derivative action filed in the Delaware Court of Chancery on behalf
of Fifth Street Finance Corporation (“FSC”) against certain current and former directors of FSC, its
investment advisor, Fifth Street Asset Management Inc. (“FSAM”), and current and former directors
and officers of FSAM, KSF alleged that certain FSC and FSAM officers and directors caused FSC to
pursue reckless asset growth strategies, to employ aggressive accounting and financial reporting
practices, and to pay excessive fees under FSC’s investment advisory agreement with FSAM, in order
to inflate the perceived value of FSAM in the lead up to FSAM’s initial public filing. KSF was instrumental
in obtaining a settlement consisting of certain changes to FSC’s investment advisory agreement and
governance enhancements. The changes to the investment advisory agreement include a waiver by
FSAM of fees equal to $10 million and an acknowledgment that plaintiffs were a substantial and
remedial factor in the reduction of base management fees from 2% to 1.75%. The governance


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enhancements include additional Board governance provisions, enhanced policies, practices and
procedures regarding FSC’s valuation of its investments, increased disclosure of relevant issues, and
increased consultation with outside advisors and independent third parties.

Lowry v. Basile (Violin Memory, Inc. Derivative Litigation), No. 4:13-cv-05768 (N.D. Cal.). As
counsel for the plaintiff in this shareholder derivative action, KSF brought breach of fiduciary claims
derivatively on behalf of Violin Memory, Inc. against certain of its current and former directors and
officers for breaches of duties and waste of corporate assets. The action focused on defendants’
publication of false and misleading statements concerning the Company's operating results and
financial condition and alleged waste of corporate assets by granting outsized compensation to the
CEO that was not in line with the performance of the Company. KSF obtained a settlement involving
numerous corporate governance reforms, including the formalization of a Disclosure Committee to put
effective procedures and protocols in place and designed to ensure that all of the Company's public
statements are vetted for accuracy, integrity and completeness. KSF was also able to cause the
Company to modify the Charter of the Compensation Committee to provide that the committee will
create annual and long-term performance goals for the CEO, whose compensation will be based on
whether those performance goals are achieved. Modifications were also caused to be made to the
Company’s Audit Committee and to the Company’s Corporate Governance Guidelines.

In re Moody’s Corporation Shareholder Derivative Litigation, No. 1:08-CV-9323 (S.D.N.Y.). As
Lead Counsel for the demand-excused shareholder derivative actions filed on behalf of Moody’s
Corporation against current and former executive officers and directors of the company, asserting
various claims, including for breach of fiduciary duty, in connection with, inter alai, Moody’s credit ratings
on various mortgage-backed securities, KSF helped obtain a settlement in which the settling
defendants agreed that Moody’s had implemented or will adopt, enhance and/or maintain certain
governance, internal control, risk management and compliance provisions, designed to identify, monitor
and address legal, regulatory and internal compliance issues throughout the business and operations
of Moody’s Investors Service, Inc., the credit rating agency operating subsidiary of the company.

In re Morgan Stanley & Co., Inc. Auction Rate Securities Derivative Litigation, No. 1:08-CV-07587
(S.D.N.Y.). As Lead Counsel for shareholders in this federal derivative action against a prominent
broker-dealer to redress harms to the company from its sales and marketing of auction rate securities,
KSF obtained substantial corporate governance reforms that promised to avoid a recurrence of similar
harms in the future.

In re Star Scientific, Inc. Virginia Circuit Court Derivative Litigation, Lead Case No. CL13-2997-6
(Va. Cir. Ct., City of Richmond). KSF acted as court appointed Lead Counsel in the consolidated state



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court shareholder derivative action filed on behalf of Star Scientific, Inc. against certain current and
former directors and officers. This action focused on defendants’ false statements and
misrepresentations concerning the Company's product Anatabloc. Specifically, the action stated that
defendants had caused or allowed the Company concealed: (i) private placements and related-party
transactions; (ii) government investigations of the Company; and (iii) a December 2013 warning letter
from the U.S. Food and Drug Administration. In resolving this matter, KSF obtained sweeping corporate
governance changes, including but not limited to, the creation of a new board-level committee to review
and oversee the Company's legal, regulatory, compliance, and government affairs functions. KSF also
caused the Company to modify the charter of the Audit Committee to strengthen disclosure oversight
and risk management. Modifications were also caused to be made to the Company's Compensation
Committee. The Company was caused to adopt a set of Corporate Governance Guidelines. A new
Governance and Nominating Committee was created and the position of Compliance Officer tasked
with oversight and administration of the Company's corporate governance policies was added.
Changes were also made to the Company's Corporate Code of Business Conduct and Ethics.

In re ProQuest Co. Shareholder Derivative Litigation, No. 2:06-cv-11845-AC (E.D. Mich.). As Co-
Lead Counsel in a federal derivative action filed on behalf of ProQuest (now Voyager Learning
Company) against certain of its officers and directors, KSF helped obtain a settlement including
important corporate governance changes.



Consumer Protection Litigation

SETTLED CASES
In re: General Motors Corp. Speedometer Products Liability Litigation, MDL No. 1896, Co-Lead
Counsel. Appointed co-lead counsel for national class of 4.2 million purchasers of certain GM trucks
with defective speedometers. The case was resolved successfully by GM agreeing to fix defective
speedometers for free and to reimburse class members for all past repair costs.

Rose Goudeau, et. al. v. The Administrators of the Tulane Educational Fund, et. al., No. 2004-
04758, Sec. 13, Div. J (Civil District Court for the Parish of Orleans), Class Co-Counsel. Nationwide
class action certified on behalf of near relatives of individuals who donated their bodies to the Tulane
Willed Body Program. The complaint alleged that the Tulane Willed Body Program sold the donated
bodies and/or body parts to third parties. A settlement of $8,300,000 was obtained for the class
members.




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Barbara Thomas, et. al. v. ClearCredit, et. al., No. 03-2580 (E.D. La.). Co-Lead Counsel in national
class action involving violations of the Fair Credit Reporting Act. Settled for approximately $6 million
in benefits to the consumer class along with injunctive relief.

Sterling Savings Bank v. Poleline Self-Storage LLC, No. CV-09-10872 (Idaho Dist. Ct.), Class
Counsel. In this putative class action, a borrower alleged that the Bank improperly used the 365/360
method of interest calculation on several commercial loans. A settlement of $3.5 million was recovered
for bank customers.



Shareholder M&A Class Action Litigation

CURRENT CASES
Helen Moore v. Macquarie Infrastructure and Real Assets, et al. (Cleco Corporation Merger),
Case No. 251,417, c/q 251,456 and 251,515, Div. “C”
   Ninth Judicial District Court for the Parish of Rapides, State of Louisiana
   Interim Co- Lead Counsel

In re USG Corp. Stockholder Litigation (USG Corp. Merger), Consol. C.A. No. 2018-0602
    Delaware Court of Chancery
    Counsel for Plaintiff

Lisa Guzman v. Robert L. Johnson, et al. (RLJ Entertainment Merger), Case No. A-18-783643-B
    Clark County, Nevada District Court, Dept. 11
    Counsel for Plaintiff

Nadav Poms v. Dominion Diamond Corporation, et al., Index No. 655733/2017
   Supreme Court of the State of New York, County of New York
   Counsel for Plaintiff


RECENT VICTORIES
Helen Moore, et al v. Macquarie Infrastructure and Real Assets, et al. No. 251,417. On September
9, 2019, Hon. Patricia Koch, District Judge for the Ninth Judicial District Court for the Parish of Rapides,
State of Louisiana, appointed KSF as co-lead counsel for the class. The class representatives allege
that Defendants, the former Board of Directors of Cleco Corporation, breached their fiduciary duties in
connection with the sale of Cleco to an investment consortium by, inter alia, failing to maximize the
consideration that Cleco shareholders would receive in the transaction, and by making misleading
statements and failing to disclose material information regarding a conflicted sales process in the
definitive proxy statement filed with the Securities and Exchange Commission thereby resulting in a
shareholder vote on the transaction that was not fully informed.




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SETTLED CASES
In re Saba Software, Inc. Stockholder Litigation, Consol. Case No. 10697 (Delaware Court of
Chancery 2015). Member of Executive Committee. Class action for breach of fiduciary duties to
shareholders relating to a proposed merger of software company. Settlement consisted of $19.5
million common fund.

In re American Capital, Ltd. Shareholder Litigation, Case No. 422598-V (Circuit Court for
Montgomery County, Maryland 2016). Co-Lead Counsel. Class action for breach of fiduciary duties to
shareholders against both the target board and senior management and an activist investor fund (as a
controller) relating to a proposed merger of a publicly traded private equity company. Settlement
consisted of $17.5 million common fund from the target’s board and the activist investor.

Kenneth Riche, et al v. James C. Pappas, et al., C.A. No. 2018-0177 (Del. Ch). Co-Lead Counsel.
Class action for breach of fiduciary duties to shareholders against the target board and activist investors
relating to a proposed merger of a publicly traded geothermal company. Settlement consisted of $6.5
million common fund, which represented a significant 7.7% premium to the $84 million adjusted
enterprise value of the merger to the non-defendants shareholders/class members.

Rice v. Genworth Financial Incorporated, et al., Consol. Case No. 3:17-cv-00059 (Eastern District
of Virginia 2017). Co-Lead Counsel. Class action for violation of Section 14(a) relating to a proposed
merger of insurance company. Settlement consisted of additional material disclosures to proxy
statements.

Wojno v. FirstMerit Corp., et al., Case No. 5:16-cv-00461 (Northern District of Ohio 2016). Co-Lead
Counsel. Class action for violation of Section 14(a) relating to a proposed merger of bank holding
company. Settlement consisted of additional material disclosures to proxy statements.

In re BTU International, Inc. Stockholders Litigation, Consol. C.A. No. 10310-CB (Delaware Court
of Chancery 2014). Co-Lead Counsel. Class action for breach of fiduciary duties to shareholders
relating to a proposed merger of electronics and solar goods companies. Settlement consisted of
additional material disclosures to proxy statements. First known settlement to pass the exacting Trulia
standards articulated by the Court of Chancery.

In re EnergySolutions, Inc. Shareholder Litigation, C.A. 8203 (Delaware Court of Chancery 2014).
Plaintiff’s Co-Lead Counsel. Class action for breach of fiduciary duties to shareholders relating to a
proposed merger of nuclear energy related companies worth $1.1 billion ($375 million in proposed
shareholder consideration). Settlement consisted of $0.40 price bump which increased the




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consideration to shareholders by more than 10% or approximately $38 million. Settlement also included
over 20 pages of additional disclosures to proxy statement relating to process and pricing claims.

Hill v. Cohen, et al. (Summit Financial Services Group, Inc.), 2013 CA 017640 (15th Judicial Circuit
Court, Florida). Co-lead Counsel. Class action for breach of fiduciary duties to shareholders relating to
a proposed merger of a financial services company. Contingent and delayed aspects of the proposed
merger consideration, worth several million dollars, were accelerated and paid to shareholders ahead
of schedule and settlement involved several pages of additional disclosures were made to the proxy
statement.

In re InSite Vision Inc. Consolidated Shareholder Litigation, Lead Case No. RG-15774540 (c/w
Case No. RG-15777471). Counsel for Plaintiffs. Class action for breach of fiduciary duties to
shareholders relating to a proposed merger of medical companies. Litigation was followed by a public
bidding war that resulted in a $30 million increase in merger compensation.

In re Medtox Scientific, Inc. Shareholders Litigation, Court File No. 62-CV-12-5118 (Minnesota
District Court 2013). Plaintiffs’ Lead Counsel. Class action for breach of fiduciary duties to shareholders
relating to a proposed merger of medical technology companies. Settlement consisted of additional
material disclosures to proxy statement.

Heron v. International Rectifier Corporation, et al., Case No. BC556078 (Superior Court of the State
of California, County of Los Angeles). Co-Lead Counsel. Class action for breach of fiduciary duties to
shareholders relating to a proposed merger of electronics companies. Settlement consisted of
additional material disclosures to proxy statements.

Sachs Investment Group v Sun Healthcare Group, Inc., et al. 30-2012-580354-CU-SL (Superior
Court of the State of California 2013). Plaintiffs’ Counsel. Class action for breach of fiduciary duties to
shareholders relating to a proposed merger of healthcare companies. Settlement consisted of
additional material disclosures to proxy statement.

In re Susser Holdings Corp. Stockholders Litigation, C.A. 9613 (Delaware Court of Chancery 2014).
Co-Lead Counsel. Class action for breach of fiduciary duties to shareholders relating to a proposed
merger of convenience store and gas station companies. Settlement consisted of additional material
disclosures to proxy statements regarding hidden value of individual distribution rights in limited
partnership.




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Antitrust Litigation

CURRENT CASES
Oliver, et al. v. American Express Company, et al., No. 1:19-cv-00566
    Eastern District of New York
    Member of Plaintiffs’ Executive Committee


RECENT VICTORIES
Oliver, et al. v. American Express Company, et al., No. 1:19-cv-00566-NGG-SMG (E.D.N.Y). On
April 30, 2020, the Hon. Nicholas G. Garaufis, United States District Court Judge for the Eastern District
of New York, entered an Order denying, in part, defendants’ motion to dismiss. This matter, in which
Kahn Swick & Foti, LLC is a member of Plaintiffs’ Executive Committee, seeks damages, restitution,
and injunctive relief against the American Express Company and American Express Travel Related
Services Company, Inc. (collectively, “Amex”), on behalf of persons that used an electronic form of
payment other than an Amex charge or credit card to purchase goods and services sold by merchants
across the country at prices allegedly inflated by Amex’s non-discrimination provisions. Judge Garaufis
ruled that plaintiffs adequately pled violations of 22 state antitrust and/or consumer protection laws and
allowed plaintiffs’ case to proceed against Amex for these violations.



Attorneys

PARTNERS

Lewis S. Kahn
Lewis Kahn is a founding partner of KSF and serves as the firm’s managing partner. Mr. Kahn’s practice
is devoted to representing institutional and retail investors in connection with damages suffered as a
result of securities fraud, breaches of fiduciary duties by corporate boards, and other egregious
corporate conduct.

Mr. Kahn oversees the firm’s securities practice, which has been responsible for settlements including
the long-running securities class action against Halliburton where Mr. Kahn was Co-Class Counsel with
David Boies, a case in which the firm twice beat back Halliburton’s attempt in the United States
Supreme Court to eviscerate shareholder rights, and obtained a $100 million settlement for the Class
after prior and subsequently replaced national securities counsel attempted to settle the case for $6
million. Other matters have included: In re Virgin Mobile USA IPO Litigation, 2:07-cv-05619-SDW-MCA
($19.5 million settlement), In re Tesco PLC Securities Litigation, 14 Civ. 8495 ($12 million



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settlement), In re BigBand Networks, Inc Securities Litigation, 3:07-CV-05101-SBA ($11 million
settlement), In re U.S. Auto Parts Networks, Inc. Securities Litigation, 2:07-cv-02030-GW-JC ($10
million settlement), In re Bank of America Corp. Securities, Derivative, and Employment Retirement
Income Security Act (ERISA) Litigation, 09 Civ.580 (DC) (S.D.N.Y.) ($62.5 million cash payment to
Bank of America o/b/o Board), In re Barnes & Noble Stockholder Derivative Litigation, C.A. No. 4813-
VCS (Del. Ch. Ct.) (recovery of $29 million for Barnes & Noble, Inc. in the form of reductions to the
principal and interest payable to CEO), and In re EnergySolutions, Inc. Shareholder Litigation, C.A.
8203-VCG (Del. Ch. 2014) ($0.40 price bump which increased the consideration to shareholders by
more than 10% or approximately $38 million).

In addition to securities lawsuits, Mr. Kahn has significant experience with consumer fraud and mass
tort class actions. Mr. Kahn has been appointed to various leadership positions in federal class action
litigation over the years.

Mr. Kahn holds a Bachelor’s degree from New York University in 1990 and received a Juris Doctor from
Tulane Law School in 1994. Mr. Kahn is a member of the Louisiana Bar and is licensed to practice in
all Louisiana state courts, as well as the United States Supreme Court, the United States Courts of
Appeal for the Second, Fifth and Ninth Circuits, and the United States District Courts for the Eastern,
Middle and Western Districts of Louisiana.


Michael A. Swick
Michael A. Swick is a co-founding partner of KSF and heads the firm’s case starting department,
overseeing case evaluation and initiation in the firm’s securities, shareholder derivative and mergers &
acquisitions practice groups. Prior to founding KSF, Mr. Swick had a distinguished career working at
several of the nation’s premiere class action litigation firms.

Relying on analytical skills honed at Tulane Law School and Columbia University’s Graduate program
of Arts & Sciences, throughout his career, Mr. Swick has played an important role in investigating large
securities frauds and in developing and initiating litigations against the nation’s largest corporations.
Over his career, Mr. Swick has also participated in the litigation of cases that have resulted in hundreds
of millions of dollars in recoveries for aggrieved shareholders and institutional investors.

Mr. Swick also works closely with the firm’s institutional investor clients and participates in the
management and development of KSF’s portfolio monitoring systems.

In addition to his unique educational background, following law school, Mr. Swick also worked on the
New York Mercantile Exchange, where he was involved first-hand, in the open-outcry trading of crude
oil and natural gas futures and options contracts.


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Mr. Swick received a Juris Doctor from Tulane Law School in 1994, and a Master of Political Philosophy
from Columbia University Graduate School of Arts & Sciences in 1989 as well as a joint B.A. in
Philosophy and Political Science from State University of New York at Albany in 1988. Mr. Swick was
admitted to the State Bar of New York in 1997 and is admitted to practice before the United States
District Court for the Southern District of New York, and the United States Supreme Court.


Charles C. Foti, Jr.
Charles C. Foti, Jr. served as the Attorney General for the state of Louisiana from 2004-2008, after
serving for 30 years as one of the most innovative law enforcement officials in the United States as
Orleans Parish Criminal Sheriff. Throughout his career, General Foti has remained committed to public
service.

As Attorney General for the state of Louisiana, General Foti’s achievements include:

              Recovering over $24 million for Louisiana consumers in consumer fraud matters, $8
               million in anti-trust litigation, $9.1 million for state employees through Office of Group
               Benefits, over $2 million for auto complaints, over $33 million in Medicaid Fraud.

              Investigating and apprehending numerous contractor fraud criminals in the wake of one of
               the worst natural disasters in United States history, Hurricane Katrina.

              Doubling the number of arrests for crime against children through the Louisiana Internet
               Crimes Against Children Task Force.

Prior to serving as Louisiana Attorney General, over the course of a distinguished career spanning
decades, General Foti took countless cases to trial. General Foti served as the head of the criminal
division of the city of New Orleans Attorney's Office. He served as the police attorney for the city of
New Orleans and prosecuted federal cases including prisoner overcrowding cases. He also served as
an assistant District Attorney for Orleans Parish. Even early in his career, he tried cases as in house
counsel for the nationally-known insurance carrier, Allstate.

In his tenure as Orleans Parish Criminal Sheriff, General Foti oversaw the enormous expansion of the
parish jail, growing from 800 prisoners in 1973 to more than 7,000 currently. As the prison expanded,
so did the need for education and rehabilitation skills for prisoners. As Sheriff, General Foti started the
first reading and GED programs, work release programs, drug treatment programs and the nation's first
boot camp at the local level, all to prepare prisoners for a future without crime. Administratively, General
Foti managed a multi-million dollar budget and a complex organization of more than 1,400 employees.




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General Foti has for many years been an advocate for the elderly. As Sheriff, he and a small army of
volunteers provided Thanksgiving meals for senior citizens in the New Orleans area. He started a back-
to-work program for senior citizens that helps people over the age of 55 get back into the workforce.

General Foti received his Juris Doctor degree from Loyola University Law School in 1965, after serving
his country in the United States Army from 1955 through 1958.


Kim E. Miller
Kim E. Miller is a KSF partner who specializes in
                                                               “One of the best lawyers to
securities litigation and other complex class action
                                                               appear in front of me in a
litigation. Ms. Miller also supervises the New York City
                                                               long time...”
office of KSF. Prior to joining the firm in 2006, Ms. Miller              Hon. Charles R. Breyer,
was a partner at one of the nation's leading plaintiff class              United States District Judge
                                                                          In Re:ShoreTel, Inc. Sec. Litig.
action firms. Ms. Miller also spent two years as a
securities litigator on the defense side.

Over the course of her career, Ms. Miller has represented many thousands of harmed investors in class
actions filed throughout the country. In a recent Order and final judgment in which KSF served as Lead
Counsel, Elgaouni v. Meta Financial Group, Inc., 10-4108-MWB (N.D. Iowa) (June 29, 2012) (Bennett,
J.), the Federal District Court noted:

        "Indeed, I find that this action has been a model of how complex class actions should
        be conducted. Counsel for the Lead Plaintiff, Kim Miller, and her firm, Kahn Swick &
        Foti, L.L.C., and [Defense Counsel] showed the utmost professionalism and civility,
        required very limited court intervention while diligently pursuing their objectives, and
        sought and obtained a fair and reasonable settlement before incurring substantial costs
        for discovery and trial preparation, all to the benefit of the Lead Plaintiff, Class
        Members, and the Defendants....I applaud their skill, expertise, zealousness,
        judgment, civility, and professionalism in putting the best interests of their respective
        clients first and not only foremost, but exclusively ahead of their law firms’ financial
        interests. Ms. Miller and [Defense Counsel] and their respective law firms earned my
        unyielding admiration and respect in this case for the efficient and exceptionally
        reasonable way in which they found a prompt, fair, and equitable solution to the
        complex problems their clients faced in this litigation, and they accomplished all of this
        with virtually no judicial intervention. In sum, my only deeply held regret in this case is
        that bioscience has not sufficiently advanced to allow the cloning of Ms. Miller and




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        [Defense Counsel] for lead counsel roles in all complex civil class action litigation in
        the Northern District of Iowa."

At another recent settlement hearing in which KSF served as Lead Counsel, In re ShoreTel, Inc. Sec.
Litig., 3:08-cv-00271-CRB (N.D. Cal.), the Federal District Court (Breyer, J.) noted, with respect to Ms.
Miller, “You're one of the best lawyers to appear in front of me in a long time....”

In addition to litigating many securities fraud and IPO-related securities cases, Ms. Miller has worked
extensively on cases involving allegations of improper directed brokerage arrangements and excessive
charges in mutual fund cases brought pursuant to the 1934 Securities Exchange Act and/or the
Investment Company Act of 1940. She was also involved in the mutual funds late trading/market timing
litigation. Ms. Miller’s class action trial experience includes participating as a trial team member in a
four-month jury trial involving fraud-based claims the resulted in a jury verdict in favor of Plaintiffs and
the Class.

In the course of her career, Ms. Miller has been involved in a variety of cases in which large settlements
were reached, including:

      Settlement value of $127.5 million. Spahn v. Edward D. Jones & Co., L.P., 04-cv-00086-HEA
       (E.D. Mo.)

      $110 Million Recovery. In re StarLink Corn Prods. Liab. Litig., MDL No. 1403 (N.D. Ill.)

      $100 Million Recovery. In re American Express Financial Advisors, Inc. Sec. Litig., 1:04-cv-
       01773-DAB (S.D.N.Y.)

Ms. Miller is KSF’s lead litigator in its securities class action practice. While at KSF, Ms. Miller has
supervised all aspects of the following successful litigations, among many others: Erica P. John Fund,
Inc. v. Halliburton Company, et al., 3:02-CV-1152-M (N.D. Tex.) ($100 million); In re Virgin Mobile USA
IPO Litig., 2:07-cv-05619-SDW-MCA (D.N.J.) ($19.5 million settlement); In re BigBand Networks, Inc.
Sec. Litig., 3:07-CV-05101-SBA (N.D. Cal.) ($11 million settlement); and In re U.S. Auto Parts
Networks, Inc. Sec. Litig., 2:07-cv-02030-GW-JC (C.D. Cal.) ($10 million settlement).

After graduating with honors from Stanford University in 1992 with a double major in English and
Psychology, Ms. Miller earned her Juris Doctor degree from Cornell Law School, cum laude, in 1995.
While at Cornell, Ms. Miller was the Co-Chair of the Women's Law Symposium, Bench Brief Editor of
the Moot Court Board, and a member of the Board of Editors of the Cornell Journal of Law & Public
Policy. She was also a judicial intern for The Honorable David V. Kenyon in the Central District of
California. Her pro bono work includes representing families of 9/11 victims at In re September 11


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Victim Compensation Fund hearings. Ms. Miller has also served as a fundraiser for the New York Legal
Aid Society. She is admitted to practice before the United States Supreme Court, the States of
California and New York, and before the United States District Courts for the Southern and Eastern
Districts of New York and the Northern, Southern, and Central Districts of California. She is also
admitted to the United States Courts of Appeal for the Second, Fifth, Ninth and Eleventh Circuits.


Ramzi Abadou
Mr. Abadou is a KSF partner who oversees KSF’s San Francisco office. He specializes in securities
litigation and has been responsible for securing securities recoveries exceeding $1.5 billion for
investors. Before joining KSF, Mr. Abadou was the managing partner of an east coast-based plaintiff
class action firm’s San Francisco office and a partner at a prominent plaintiff class action firm in San
Diego.

He is responsible for numerous precedent-setting decisions at all stages of securities litigation,
including In re HP Secs. Litig., 2013 U.S. Dist. LEXIS 168292 (N.D. Cal. 2013); In re MGM Mirage Sec.
Litig., 2013 U.S. Dist. LEXIS 139356 (D. Nev. 2013); Dobina v. Weatherford Int’l, 909 F. Supp. 2d 228
(S.D.N.Y. 2012); Minneapolis Firefighters’ Relief Ass’n v. Medtronic, Inc., 278 F.R.D. 454 (D. Minn.
2011); In re SemGroup Energy Partners, L.P., 729 F. Supp. 2d 1276 (N.D. Okla. 2010); Borochoff v.
Glaxosmithkline PLC, 246 F.R.D. 201 (S.D.N.Y. 2007); and In re Cardinal Health, Inc. Sec. Litig., 226
F.R.D. 298 (S.D. Ohio 2005). Mr. Abadou also prevailed before the United States Court of Appeals for
the Ninth Circuit and the United States Supreme in Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988
(9th Cir. 2018) cert. denied sub nom. Hagan v. Khoja, 139 S. Ct. 2615 (2019), which significantly altered
the securities law and civil pleading practice landscapes in the Ninth Circuit.

In 2010, Mr. Abadou was named one of the Daily Journal’s Top 20 Lawyers in California under 40 and,
since 2012, has been selected for inclusion in either Super Lawyers or Benchmark Litigation as a
leading securities litigation practitioner. He also has AV Preeminent Peer Review Rating from
Martindale-Hubbell. He has lectured on securities litigation at Stanford University Law School, the
University of San Diego School of Law, Boston College Law School and is a Law Lecturer at U.C.
Berkeley Law School.

Over the years, federal courts have also commended Mr. Abadou for his handling of securities matters.
In Minneapolis Firefighters’ Relief Association v. Medtronic, Inc. et al. Case No. 0:08-cv-06324-PAM-
AJB (D. Minn.) (November 8, 2012), the Hon. Chief Magistrate Judge Arthur Boylan stated:

         “I’ve been a judge, as you know, either in state or federal court, for over 26 years, and
         you get a feel for [] the quality of representation before you. But more than that, the



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         quality of the people, personally and professionally. And [] the gentlemen who are here
         in the courtroom, [] Ramzi [Abadou], exhibited such professionalism and such hard
         work and such good faith in pursuing this.”

Similarly, in Tripp, et al. v. IndyMac Bancorp, Inc., et al., Case No. 2L07-CV-1635-GW (VBK) (January
28, 2013), the Hon. George H. Wu stated in reference to Mr. Abadou that:

         “Counsel actively, thoroughly and impressively litigated a complex subject matter (both
         factually and legally), all the while confronting formidable defense counsel. Obviously,
         the plaintiff class did not face a simple path if it continued with this litigation into further
         discovery, summary judgment motions and, eventually, trials and, potentially appeals.
         Counsel has obtained a not insubstantial settlement figure as the result of their hard,
         and capable, work.”

Mr. Abadou attended Pitzer College where he earned a B.A. in Pan-African Studies in 1994 and later
obtained an M.A. in political science from Columbia University in 1997. He received his J.D. from Boston
College Law School in 2002.

Mr. Abadou is a member of the San Francisco Bar Association, the Federal Bar Association for the
Northern District of California and is a pro bono panelist with Federal Bar Association Justice & Diversity
Project. He is admitted to the California Bar and is licensed to practice in all California state courts, as
well as all United States District Courts in California, the Eastern District of Michigan, the United States
Court of Appeals for the Ninth and Eleventh Circuits, and the Supreme Court of the United States.


Melinda A. Nicholson
Melinda A. Nicholson, a partner in KSF’s Louisiana office, focuses on shareholder derivative and class
action litigation, representing institutional and individual shareholders in corporate governance litigation
and securities fraud actions, and antitrust matters. Ms. Nicholson also oversees KSF’s shareholder
derivative practice.

Ms. Nicholson has been involved in a number of significant derivative and class action cases throughout
the country seeking recovery for harmed shareholders and individuals, obtaining seminal decisions in
shareholders’ favor, including:

        Oliver, et al. v. American Express Company, et al., No. 1:19-cv-00566 (E.D.N.Y). On April 30,
         2020, the Hon. Nicholas G. Garaufis, United States District Court Judge for the Eastern District
         of New York, entered an Order denying, in part, defendants’ motion to dismiss. This matter, in
         which Kahn Swick & Foti, LLC is a member of Plaintiffs’ Executive Committee, seeks damages,


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         restitution, and injunctive relief against the American Express Company and American Express
         Travel Related Services Company, Inc. (collectively, “Amex”), on behalf of persons that used
         an electronic form of payment other than an Amex charge or credit card to purchase goods
         and services sold by merchants across the country at prices allegedly inflated by Amex’s non-
         discrimination provisions. Judge Garaufis ruled that plaintiffs adequately pled violations of 22
         state antitrust and/or consumer protection laws and allowed plaintiffs’ case to proceed against
         Amex for these violations.

        In re Fitbit, Inc. Stockholder Derivative Litigation, Consolidated C.A. No. 2017-0402 (Del. Ch.).
         On December 14, 2018, Vice Chancellor Joseph R. Slights III of the Delaware Chancery Court
         rejected a motion to dismiss a stockholder derivative suit alleging insider trading and breach of
         fiduciary duty claims against executive officers and directors of Fitbit, Inc. (“Fitbit”). The lawsuit,
         in which Ms. Nicholson serves as co-lead counsel, alleges that certain insiders made $385
         million in stock sales in the company’s initial public offering and—after agreeing to release the
         insiders from lock-up agreements that barred them from trading for 180 days after the initial
         public offering—an early secondary offering, taking take advantage of an artificially positive
         market response to Fitbit’s flagship PurePulse heartrate monitoring technology. Vice
         Chancellor Slights held that the plaintiffs’ complaint—bolstered by internal company documents
         obtained by KSF and its co-counsel—reasonably alleges that, while Fitbit was actively
         promoting its PurePulse technology, the company internally was struggling to correct and
         contain news about serious problems with the accurate functioning of their devices containing
         PurePulse. In the opinion, Vice Chancellor Slights further held that the complaint adequately
         pled that the directors and officers who sold stock traded on inside information, and “designed
         the secondary offering to accommodate sellers’ interests.”

        Dougherty v. Esperion Therapeutics, Inc., et al., No. 16-10089 (E.D. Mich.). On September 27,
         2018, the Sixth Circuit Court of Appeals reversed and remanded the lower court’s dismissal of
         the securities class action filed on behalf of a putative class of Esperion Therapeutics, Inc.
         investors. In a decision written by Senior Circuit Judge Eugene Edward Siler, Jr., the Sixth
         Circuit held that the district court erred by concluding that lead plaintiffs had not adequately
         alleged scienter, stating that, “Esperion has offered no innocent inference stronger than
         Plaintiffs’ inference that Esperion knowingly or recklessly made material misrepresentations or
         omissions in its [] communications with investors.” The Court further held that defendants’
         “innocent inference” explanations were either implausible or actually supported lead plaintiffs’
         allegation of recklessness.




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Ms. Nicholson is actively involved in cases pending before various federal and state courts across the
United States, including:

        In re Bed Bath & Beyond Inc. Stockholder Derivative Action, Index No. 516051/2020; New York
         Supreme Court, Kings County; Co-Lead Counsel

        In re Cabot Oil & Gas Corp. Derivative Litigation, No. 21- 02046; Southern District of Texas;
         Additional Plaintiffs’ Counsel;

        Conte v. Greenberg (Skechers U.S.A., Inc. Derivative Litigation), C.A. No. 2022-0633 (Del.
         Ch.); Plaintiffs’ Counsel;

        Dalton v. Surgner, et al. (Altria Group Inc. Derivative Litigation), No. CL21-5548-00; Circuit
         Court for Henrico County, Virginia; Plaintiffs’ Counsel;

        Khoury v. Williams, et al. (Groupon, Inc. Derivative Litigation), C.A. No. 2022-0077 (Del. Ch.);
         Plaintiffs’ Counsel;

        Lyon v. AMC Entertainment Holdings, Inc., et al., No. 21-7940; Southern District of New York;
         Plaintiffs’ Counsel;

        In re Mattel, Inc. Stockholder Derivative Litigation, No. 2021-0417 (Del. Ch.); Co-Lead Counsel;

        Oliver, et al. v. American Express Company, et al., No. 1:19-cv-00566 (E.D.N.Y.); Member of
         Plaintiffs’ Executive Committee;

        In re Pareteum Securities Litigation, No. 1:19-cv-09767 (S.D.N.Y.); Lead Counsel;

        Pfenning v. Jacobs, et al. (Acadia Healthcare Company, Inc. Derivative Litigation), C.A. No.
         2020-0915 (Del. Ch.); Plaintiff’s Counsel;

        In re ProAssurance Corp. Stockholder Derivative Litigation, No. 2022-0034 (Del. Ch.); Co-Lead
         Counsel;

        Weber, et al. v. Polk, et al. (Newell Brands, Inc. Derivative Litigation), C.A. No. 20-cv-01792
         (D. Del.); Plaintiffs’ Counsel; and

        Welch v. Meaux, et al., No. 19-1260 (W.D. La.) Lead Counsel.

Since joining KSF, Ms. Nicholson has also been involved in a number of cases which ultimately resulted
in successful settlements, including:


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        Orrego v. Lefkofsky (Groupon, Inc. Derivative Litigation), No. 12 CH 12420 (Ill. Cir. Ct, Cook
         Cnty., Ch. Div.) (settlement consisting of broad corporate governance reforms with an
         estimated value of $159 million);

        In re Bank of America Corporation Securities, Derivative, & Employee Retirement Income
         Security Act (ERISA) Litigation, No. 09-MD-2058 (S.D.N.Y.) (Court-approved settlement
         including $62.5 million cash recovery and substantial corporate governance changes);

        Bassett Family Trust v. Costolo, et al. (Twitter, Inc. Derivative Litigation), C.A. No. 2019-0806
         (Del. Ch.) (settlement resulted $38 million payment and targeted corporate governance
         reforms);

        In re Fifth Street Finance Corp. Stockholder Litigation, Consolidated C.A. No. 12157 (Del. Ch.)
         (settlement resulted in governance enhancements and advisory fee reductions worth an
         estimated $30 million);

        In re Barnes & Noble Stockholder Derivative Litigation, C.A. No. 4813 (Del. Ch.) (settlement
         resulted in $29 million recovery for the company);

        In re Fitbit, Inc. Stockholder Derivative Litigation Consolidated C.A. No. 2017-0402 (Del. Ch.)
         (settlement resulted in $5 million recovery for the company);

        In re FAB Universal Corporation Shareholder Derivative Litigation, Lead Case No. 14-cv-687
         (S.D.N.Y.) (settlement involving broad corporate governance reforms);

        Lowry v. Basile (Violin Memory, Inc. Derivative Litigation), No. 4:13-cv-05768 (N.D. Cal.) (broad
         corporate governance reform settlement); and

        In re Moody’s Corporation Shareholder Derivative Litigation, 1:08-CV-9323 (S.D.N.Y.)
         (settlement involving comprehensive corporate governance reforms).

Prior to joining the firm in 2010, Ms. Nicholson worked for defense firms in New York, handling complex
commercial litigations and regulatory investigations involving a variety of legal issues, including
fiduciary obligations, securities violations, contractual breaches, antitrust and insurance coverage. Ms.
Nicholson completed a joint B.A./J.D. program at Tulane University, receiving a B.A. in Political
Science, with a concentration in American Politics and Policies and a minor in Economics, from Tulane
in 2003 and a J.D. from Tulane in 2005. While at Tulane Law School, Ms. Nicholson served as a Notes
and Comments Managing Editor for the Tulane Law Review, which published her comment, The
Constitutional Right to Self-Representation: Proceeding Pro Se and the Requisite Scope of Inquiry


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When Waiving Right to Counsel, 79 TUL. L. REV. 755 (2005). She has received numerous awards,
including the Dean’s Medal for attaining the highest grade point average during the third year, the
George Dewey Nelson Memorial Award for attaining the highest grade point average in common law
subjects throughout the three years of law study, and Order of the Coif. She graduated from the law
school summa cum laude and ranked second in her class.

Ms. Nicholson is regularly asked to give presentations and conduct CLEs addressing her practice
areas.

Ms. Nicholson is admitted to practice in Louisiana and New York, and before the United States District
Courts for the Eastern District of Louisiana, Western District of Louisiana, Southern District of New
York, Eastern District of New York, District of Colorado, and Eastern District of Michigan.


Michael J. Palestina
Mr. Palestina practices securities and other complex class action litigation. He focuses his practice on
securities litigation involving mergers and acquisitions. In his capacity as a KSF partner, Mr. Palestina
currently serves as lead, co-lead, or executive committee counsel in several ongoing M&A cases and
has previously served in the same capacity in several successfully resolved M&A cases.

For example, Mr. Palestina took part in the successful resolution of In re EnergySolutions, Inc.
Shareholder Litigation, Consol. C.A. 8203-YCG (Del. Ch. 2013), a securities class action involving
claims for breach of fiduciary duties to shareholders relating to a proposed merger of nuclear energy
related companies worth $1.1 billion ($375 million in proposed shareholder consideration), where there
was a $0.40 price increase, which increased the consideration to shareholders by more than 10%, or
approximately $38 million, and over 20 pages of additional disclosures to the proxy statement relating
to process and pricing claims. More recently, Mr. Palestina served as one of three co-lead counsel in
In re American Capital, Ltd. Shareholder Litigation, Case No. 422598-V (Circuit Court for Montgomery
County, Maryland 2016), a securities class action involving claims for breach of fiduciary duty in
connection with the sale of American Capital Ltd. against both American Capital's board and senior
officers and Elliott Management Corporation, the activist investor fund that agitated for the sale.
Therein, Mr. Palestina was instrumental in obtaining a $17.5 million settlement from American
Capital’s board members and officers and Elliott, in so doing defeating a motion to dismiss by Elliott
and obtaining an unprecedented ruling that Elliott may be considered a controller and subject to entire
fairness review at trial.

Several of Mr. Palestina’s current cases also implicate evolving and novel areas of corporate merger
law. For example, in Helen Moore v. Macquarie Infrastructure and Real Assets, et al. (Cleco



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Corporation Merger), Case No. 251,417, c/q 251,456 and 251,515, Div. “C” (9th JDC, Louisiana, 2014),
in which Mr. Palestina serves as one of two Interim Co-Lead Counsel, he was instrumental in securing
a landmark Louisiana appellate decision finding that merger-related challenges are direct, and not
derivative, in nature. Similarly, in Kenneth Riche v. James C. Pappas, et al. (U.S. Geothermal Merger),
C.A. No. 2018-0177-JTL (Del. Ch. 2018), in which Mr. Palestina serves as counsel for the Plaintiff, Mr.
Palestina is litigating one of the few merger challenges to survive a motion to dismiss post-Corwin.
Finally, in Lisa Guzman v. Robert L. Johnson, et al. (RLJ Entertainment Merger), Case No. A-18-
783643-B (Nevada Dis. Ct. 2018), in which Mr. Palestina again serves as counsel for the Plaintiff, Mr.
Palestina is litigating whether Nevada’s “inherent fairness” standard survived the Nevada Legislature’s
2017 amendment of its business corporation laws.

Prior to joining KSF, Mr. Palestina clerked for the honorable Catherine D. Kimball, former Chief Justice
of the Louisiana Supreme Court, and practiced law at a well-respected New Orleans litigation firm.
While there, Mr. Palestina gained valuable trial experience, focused on complex commercial litigation,
and represented a number of judges and his fellow lawyers regarding ethical issues before the State’s
judicial and attorney disciplinary systems.

Mr. Palestina graduated from Tulane University in 2005 with a Bachelor of Arts in Political Science. He
earned his J.D. in 2008 from Loyola University of New Orleans College of Law, where he graduated
magna cum laude, was a William L. Crowe, Sr. Scholar, and was inducted into the Order of Barristers.
While in law school, Mr. Palestina was a member of the Loyola Law Review and Loyola Moot Court,
was the first place oralist in the Loyola Intramural Moot Court Competition, and represented Loyola at
the Stetson International Environmental Moot Court Competition (where he was the fourth place oralist
overall) and on the National Team at the New York Bar Association’s National Moot Court Competition
(where his team advanced to the finals). Mr. Palestina also served as a research assistant to the Leon
Sarpy Professor of Law Professor Kathryn Venturatos Lorio, whom he assisted in a revision of her
Westlaw treatise on Louisiana Succession and Donations, and as a Judicial Intern to Magistrate Joseph
C. Wilkinson, Jr. of the United States Federal District Court for the Eastern District of Louisiana. Mr.
Palestina’s Law Review article, Of Registry: Louisiana’s Revised Public Records Doctrine, was
published in the Loyola Law Review. Mr. Palestina is licensed to practice in Louisiana state and federal
courts.




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J. Ryan Lopatka
J. Ryan Lopatka, a partner in KSF’s New York office, focuses primarily on federal securities class action
litigation.

Mr. Lopatka was a member of the team that litigated against Halliburton Company in one of the most
closely followed securities cases of all time. The litigation, which spanned more than a decade, included
two landmark decisions from the Supreme Court. The first, Erica P. John Fund, Inc. v. Halliburton, 1331
S.Ct. 2179 (2011), a 9-0 unanimous opinion, reversed the rulings of the district court and Fifth Circuit
Court of Appeals denying the investors’ motion for class certification on loss causation grounds. The
second, Halliburton Co. v. Erica P. John Fund, Inc., 134 S.Ct. 2389 (2014), preserved the fraud-on-the-
market doctrine, and helped pave the way towards a $100 million recovery for the class.

Most recently, Mr. Lopatka successfully argued before the United States Court of Appeals for the
Second Circuit to reverse an order from the Southern District of New York granting motion to dismiss
in a securities class action against NewLink Genetics Corp. The 26-page ruling from the three-judge
panel in Abramson v. NewLink Genetics Corp., 2020 U.S. App. LEXIS 21545 (2d Cir. July 13, 2020)
revitalized investors’ claims against the bio-pharmaceutical company, and further developed the law of
the Second Circuit with regard to loss causation and the actionability of opinion statements under the
Supreme Court’s 2015 decision in Omnicare, Inc. v. Laborers Dist. Council Const. Industry Pension
Fund, 575 U.S. 175 (2015).

Mr. Lopatka is actively involved in securities class actions across the United States in which KSF
currently serves as Lead or Co-Lead Counsel. Representative matters include:

         Pearlstein v. BlackBerry Limited, et al., No. 13-cv-7060 (S.D.N.Y.)

         Nguyen v. NewLink Genetics Corp., No. 16-cv-3545 (S.D.N.Y.)

         Hogan v. Pilgrim’s Pride Corporation, et. al., No. 16-cv-2611 (D. Colo.)

         In re Chicago Bridge & Iron Company N.V. Sec. Litig., No. 17-cv-1580 (S.D.N.Y.)

         Kanefsky v. Honeywell, et al., No. 18-15536 (D. N.J.)

         Greco, et al. v. Qudian Inc., et al., No. 20-cv-577 (S.D.N.Y.)

As an active member of the legal community, Mr. Lopatka also dedicates time to promote best practices
in complex litigation. For example, Mr. Lopatka serves alongside attorneys representing both plaintiffs
and defendants as a project member with the Electronic Discovery Reference Model (EDRM) to identify
common problems and solutions (including potential amendments to the Federal Rules of Civil




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Procedure) related the process of recording documents withheld from production on a claim that they
contain attorney-client communication or work product.

Mr. Lopatka received his J.D. from Tulane University Law School in 2010. During the summer of 2009,
he studied international capital markets and securities law at Cambridge University and Queen Mary
School of Law in London, England. He received his B.A. with honors in history from Loyola University
New Orleans in 2004.

Mr. Lopatka is admitted to practice in Louisiana and Illinois.


Craig J. Geraci
Craig J. Geraci, Jr. is a partner in KSF’s Louisiana office and focuses on federal securities litigation and
other complex class action litigation. He is actively involved in cases pending before federal courts
across the United States.

Mr. Geraci has litigated numerous securities matters and helped recover more than $100 million for
shareholders allegedly defrauded by publicly traded companies and their officers. For example, Mr.
Geraci was a member of the litigation team in Halliburton Co. v. Erica P. John Fund, Inc., 134 S.Ct.
2389 (2014), a landmark securities-fraud class action, where the U.S. Supreme Court ruled for KSF’s
client on the most important issue in the case, and in Erica P. John Fund, Inc. v. Halliburton, 131 S.Ct.
2179 (2011), where the Court ruled unanimously for KSF’s client. The Halliburton case ultimately
resulted in a settlement of $100 million.

Mr. Geraci received his J.D. from Tulane University Law School in 2009 and received a B.S. with a
major in finance from the University of New Orleans in 2005.

Prior to joining KSF, Mr. Geraci focused his practice on complex commercial and corporate litigation,
primarily for clients in the energy industry. In that role, he litigated numerous matters in state and federal
courts across the country, including a case where he helped obtain a unanimous verdict in a three-
week jury trial, awarding more than $4 million in contract damages and $2.7 million in fraud and punitive
damages. He has also presented oral argument before the U.S. Court of Appeals for the Federal Circuit.

Mr. Geraci is admitted to practice in Louisiana, Mississippi, Alabama, and Texas, and he is a member
of those states’ bar associations. Further, Mr. Geraci is admitted to practice before the United States
Court of Appeals for the Second Circuit, Fifth Circuit, and Federal Circuit and the United States District
Courts for the Eastern, Middle, and Western Districts of Louisiana, the Northern, Eastern, and Southern
Districts of Texas, and the Northern and Southern Districts of Mississippi.




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SPECIAL COUNSEL

Vincent Giblin

Special Counsel to KSF
DeCotiis Fitzpatrick Cole & Giblin, LLP
Paramus, NJ

Vincent Giblin, as Special Counsel to KSF, is an experienced trial attorney and partner with DeCotiis
Fitzpatrick Cole & Giblin LLP. Prior to his career in the private sector, Mr. Giblin served as an Assistant
U.S. Attorney in the District of New Jersey. For his efforts at the U.S. Attorney’s Office, Mr. Giblin
received special recognition from the U.S. Secret Service, U.S. Postal Inspection Service and the
Federal Bureau of Investigation. He was also bestowed with the 2002 Administrator’s Award, one of
the highest honors by the U.S. Drug Enforcement Administration, for his outstanding achievement in
law enforcement. Trials that Mr. Giblin participated in include: United States v. Robert Kosch and
Ravidath Ragbir, a wire fraud conspiracy involving fraudulent mortgage proceeds; United States v. Luis
Cruz, a gang-related crack cocaine conspiracy; and Walsh v. Walsh, a minority shareholder action.

Mr. Giblin regularly appears as trial counsel in state and federal courts. Mr. Giblin handles complex
federal litigation, white collar criminal defense, and compliance matters for private corporate and not-
for-profit organizations. Mr. Giblin has substantial experience with class action litigation including
securities litigation, trade secret litigation, First Amendment issues, international business torts, and
minority shareholder actions and bankruptcy-related litigation. Mr. Giblin currently serves as the outside
general counsel for the International Union of Operating Engineers representing over 450,000 members
nationally.

Mr. Giblin received a B.A. from Rutgers College in 1992 where he was a member of the Rutgers
Intercollegiate Lacrosse Team. Following receiving his J.D. from Seton Hall University School of Law
in 1995, he served as a law clerk for the Hon. Clarkson S. Fisher, U.S.D.J. for the U.S. District Court of
the District of New Jersey. Mr. Giblin is admitted to practice in New Jersey, and is admitted to practice
before the United States Court of Appeals for the Third Circuit, and the United States District Courts for
the District of New Jersey, Southern District of New York, and District of Columbia.




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OF COUNSEL

Melissa Harris
Melissa Harris, Of Counsel in KSF’s New Orleans office, practices securities and other complex
commercial and class action litigation.

Prior to joining KSF, Ms. Harris worked at a large, well-respected regional law firm in New Orleans,
where she handled defense of complex commercial litigation, government contracts matters, and
government investigations in state and federal courts around the country, as well as before federal
agencies, including the Consumer Financial Protection Bureau, Federal Trade Commission, and United
States Department of Justice. Ms. Harris also represented financial institutions and other companies in
lawsuits under the federal False Claims Act and related state and local false claims laws. Ms. Harris
has extensive experience with ESI and e-discovery and has presented and published on this topic
numerous times.

Before moving to New Orleans, Ms. Harris clerked in federal court for four years in Hattiesburg,
Mississippi for the Honorable M. Keith Starrett and the Honorable Michael T. Parker. A native New
Yorker, Ms. Harris began her career at a large, prestigious defense firm in New York City where she
handled complex commercial litigation, including antitrust, securities, and white-collar criminal matters,
and regulatory investigations.

Ms. Harris graduated from Fordham Law School magna cum laude, in the top 2% of her class. Ms.
Harris was a member of the Fordham Law Review, was Order of the Coif, and received the Archibald
R. Murray Public Service Award and the West Award for Outstanding Academic Achievement. Ms.
Harris received her undergraduate degree from Vassar College cum laude, with a major in Classics
and a minor in Religion.

Ms. Harris is admitted to practice in Louisiana and New York state courts, as well as in the United
States District Courts for the Eastern, Middle, and Western Districts of Louisiana and the Southern and
Eastern Districts of New York, and the United States Court of Federal Claims. She is a member of the
Federal Bar Association, American Bar Association, Louisiana State Bar Association, and New Orleans
Bar Association.


Daniel Kuznicki
Mr. Kuznicki earned his juris doctorate from New York University School of Law in 2008 and graduated
summa cum laude in 2005 with a bachelor’s degree in Talmudic Law from Yeshiva Bnei Torah Institute.




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His practice focuses on securities litigation, representing shareholders in class actions concerning
allegations of securities fraud and breaches of fiduciary duties in connection with corporate governance
and mergers and acquisitions.

Mr. Kuznicki was one of the lead attorneys representing the class in In re Cnova N.V. Securities
Litigation, No. 16-cv-0444-LTS (S.D.N.Y.) – a case alleging, inter alia, violations of Section 11 that was
successfully resolved for a cash settlement of $28.5 million – where Mr. Kuznicki was actively involved
in each stage of the litigation and was instrumental in the development of the damages theory that
substantially increased the class’ potential recoverable damages and ultimately resulted in class
members recovering nearly 100% of their recognized losses.

Mr. Kuznicki was also one of the lead attorneys representing the class in Guevoura Fund Ltd. v.
Sillerman, et al., No. 1:15-cv-07192-CM (S.D.N.Y.) – a case alleging, inter alia, violations of Section
10(b) based on defendants’ alleged manipulation of the market for SFX securities by making bad-faith
bids to acquire the company, which is currently in mediation – by, among other things, persuading the
court to apply a lower pleading standard to the manipulation claim.

Before turning his attention to class action litigation, Mr. Kuznicki’s practice focused on litigation and
corporate matters involving trademarks, licensing, contracts, securities and real estate.

Mr. Kuznicki is admitted to practice law in the State of New York, and the United States District Court
for the Southern District of New York, as well as the United States Court of Appeals for the Second
Circuit.


C. Mark Whitehead III
Mark Whitehead, Of Counsel in KSF’s New Orleans office, practices complex class action litigation.

Mr. Whitehead has been practicing in the field of mass torts and class actions since 2001. He has been
involved in numerous environmental cases involving class claims for property damage and medical
monitoring. Mark also represented the Boilermakers’ Union Local 1814 in New Orleans, LA. He served
on the plaintiff’s committee for consolidated Vioxx mass tort litigation in New Jersey and has served on
the science committee of the Plaintiff’s Steering Committee in the PPA multi-district litigation, as well
as serving similar roles in the Bextra/Celebrex, Vioxx, PPA, Fen-Phen, and Avandia MDLs. Mark is
currently serving as a member of the science, bellwether trial, and expert witness committees in the
Xarelto MDL. Mark has authored and co-authored publications in fields as diverse as aviation,
neurosurgery, vascular surgery, and cardiology and was the recipient of the American Venous Forum
Research Award. He has also served as acting coroner for Vermilion Parish and was on the Eunice,
Louisiana Regional Airport Commission.


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Mr. Whitehead received his J.D. from Tulane University Law School in 2000 after receiving his M.D.
from Tulane University School of Medicine in 1995 and a B.S. from the University of Georgia in 1991.

Mr. Whitehead is admitted to practice in Louisiana and Florida state courts, as well as in the United
States District Courts for the Eastern District of Louisiana, Middle District of Louisiana, Western District
of Louisiana, United States District Courts for the Northern and Southern Districts of Florida, and the
Fifth Circuit Court of Appeals. He is a member of the American Association for Justice, Louisiana
Association for Justice, Florida Justice Association, Louisiana Bar Association, Florida Bar Association,
District of Columbia Bar Association, Louisiana State Medical Society, and the Vermilion Parish Medical
Society (past treasurer and vice president).


Andrew J. Gibson
Mr. Gibson is of counsel to KSF. Andrew focuses his practice on merger and acquisition litigation,
shareholder derivative actions, and other complex class action litigation.

Mr. Gibson is also responsible for the formation and management of the firm’s Business Loss Claim
division, wherein he represents hundreds of businesses and non-profit organizations in claims under
the Deepwater Horizon Economic and Property Damage Settlement. He also has broad experience
representing clients in commercial and casualty litigation in Louisiana state and federal courts and has
obtained a consistently successful record for his clients.

Mr. Gibson received his J.D. from Loyola University New Orleans College of Law in 2004. While in
school, he served as a Teaching Assistant and Staff member for the Moot Court program, was twice
elected to the Executive Board of the Student Bar Association, and clerked at a nationally recognized
law firm. During the summer of 2003, he studied Latin American civil law systems and international
arbitration at the University of Costa Rica School of Law in San Jose, Costa Rica. He earned a Bachelor
of Science degree in Business with a concentration in Pre-Law from the E.J. Ourso College of Business
at Louisiana State University in 1997 and went on to work as a manager in the marketing department
of a regional telecommunications company.

Mr. Gibson is a proud veteran of the United States Marine Corps where he served in the infantry as a
Non-Commissioned Officer.

Mr. Gibson is very active in the local business community and has served on the Board of Directors
and as Chairman of the Governmental Affairs Committee for the Saint Tammany West Chamber of
Commerce, as a member of the St. Tammany Parish Home Rule Charter Committee (2014-15) and as
a member of the St. Tammany Parish Inspector General Task Force (2013-2014).




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ASSOCIATES

Alexander L. Burns
Alexander L. Burns is an associate in KSF’s Louisiana office and focuses on federal securities class
actions.

Mr. Burns graduated with honors from the University of Southern Mississippi in 2000 with a B.S.B.A. in
accounting. In 2001, he earned his Master of Professional Accountancy and has been a licensed CPA
since 2003. From 2001 to 2004 Mr. Burns was employed by Ernst & Young, L.L.P., auditing the financial
statements of both privately held and publicly traded entities spanning a variety of industries including
casino gaming, health care, insurance, and energy. Following the Enron scandal of the early 2000s,
and anticipating the need for attorneys with a strong understanding of accounting issues, Mr. Burns left
E&Y to attend law school in 2004.

Mr. Burns received his J.D. and B.C.L. from Louisiana State University’s Paul M. Hebert Law Center in
2007. While at LSU, he was awarded the CALI Award for Academic Excellence in Contracts, served
as Treasurer of the Trial Advocacy Board, and competed on various interschool mock trial teams. Mr.
Burns has since practiced civil litigation, representing his clients’ interests in contentious matters in both
state and federal courts.

Mr. Burns is a licensed Certified Public Accountant in Louisiana. As an attorney, he is admitted to
practice in Louisiana, the related Federal District Courts, the United States District Court for the Eastern
District of Michigan, and the United States Fifth Circuit Court of Appeals.


Morgan M. Embleton
Morgan M. Embleton is an associate in KSF’s New Orleans office and focuses on federal securities
class actions.

Ms. Embleton received her J.D. and Environmental Law Certificate from Tulane University Law School
in 2014. During her time in law school, Ms. Embleton was a student attorney in the Tulane
Environmental Law Clinic, a member of the Journal of Technology and Intellectual Property, and the
Assistant Director of Research and Development for the Durationator. She received her B.A. in
Sociology, cum laude, from the University of Colorado in Boulder, Colorado.

Prior to joining KSF, Ms. Embleton focused her practice on False Claims Act litigation, whistleblower
actions, pharmaceutical mass torts, products liability, maritime, and personal injury claims.




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Ms. Embleton is admitted to practice in all Louisiana State Courts, the United States District Courts for
the Eastern, Middle, and Western Districts of Louisiana, the Eastern District of Michigan, the United
States Court of Federal Claims, and the United States Court of Appeals for the Fifth and Ninth Circuits.
Ms. Embleton is also a member of the New Orleans Bar Association.


Alayne Gobeille
Alayne Gobeille is an associate in KSF’s New Orleans office and focuses on federal securities class
actions.

Ms. Gobeille completed her undergraduate work at the University of California at Davis, earning a B.S.
in Fermentation Science in 2000. She went on to earn a Masters Degree in Natural Resources from
Cornell University in 2003. After graduate school, Ms. Gobeille worked as a public health researcher,
specializing in environmental epidemiology and occupational health.

Ms. Gobeille made the decision to go to law school so that she could better serve the communities she
worked with as a scientist. She received her J.D. cum laude from Tulane University Law School in
2011. While at Tulane, Ms. Gobeille was awarded the CALI Award for Academic Excellence in Toxic
Torts, was an editor of the Tulane Journal of International and Comparative Law, and received a
certificate in Environmental Law.

After law school, Ms. Gobeille worked for a boutique environmental non-profit advocacy organization
in Washington D.C. She also served as a law clerk to the Honorable Lawrence J. O’Neill, Chief U.S.
District Court Judge for the Eastern District of California, for more than two years. Ms. Gobeille has
since returned to Louisiana, where her practice focuses on seeking justice for individuals and
organizations who have been victims of securities fraud.

Ms. Gobeille is licensed in Louisiana and the related Federal District Courts, as well as the United
States District Court for the Eastern District of Michigan.


Jyoti Kehl
Jyoti Kehl is an associate in KSF’s Louisiana office and focuses on federal securities class action
litigation.

Ms. Kehl received her J.D. from Tulane University School of Law in 2018, where she was a member of
the International Criminal Court appellate moot court team and a Rule XX Student Attorney with the
Tulane Criminal Justice Clinic. She received her B.A. in political science with an emphasis in
international political economy from the University of California, Santa Barbara.




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Ms. Kehl is admitted to practice in Louisiana.


Nicolas Kravitz
Nicolas Kravitz is an associate in KSF’s New Orleans office and focuses primarily on shareholder
derivative litigation.

Mr. Kravitz received his J.D., cum laude, from Georgetown University Law Center in 2014. During law
school, Mr. Kravitz served as an editor for the American Criminal Law Review and worked as a legal
extern for the United States Department of Justice. He received his B.S. in Finance from Tulane
University.

Prior to joining KSF, Mr. Kravitz practiced corporate and commercial litigation in Wilmington, Delaware,
focusing on complex matters in the Delaware Court of Chancery.

Mr. Kravitz is admitted to practice in Louisiana, Delaware, and the United States District Court for the
District of Delaware.


Anton Martynenko
Anton Martynenko is a staff attorney in KSF’s New Orleans office and focuses primarily on shareholder
derivative litigation, along with federal securities and antitrust class actions.

Prior to joining KSF, Mr. Martynenko practiced general litigation, where he gained invaluable
experience litigating consumer protection, personal injury, family, and elder abuse matters.

Mr. Martynenko received his J.D. in 2016 from Tulane University School of Law, where he was a
member of the trial moot court team, received several trial advocacy awards, and served indigent
defendants as a Rule XX Student Attorney with the Tulane Criminal Justice Clinic.

Mr. Martynenko earned his B.A. in Studio Art from the University of Dallas and is admitted to practice
in all Louisiana state courts.


Brian C. Mears
Brian C. Mears is an Associate Attorney in KSF’s New Orleans office and focuses on securities litigation
involving mergers and acquisitions.

Mr. Mears received his J.D. from Tulane University Law School in 2014. During his time in law school,
Mr. Mears was a member of the Sports Lawyers Journal, and he interned with the general counsel’s
office at Octagon, Inc., one of the world’s largest sports agencies, and with the San Antonio Spurs.



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Following law school, Mr. Mears clerked for the Honorable Christopher Bruno at the Civil District Court
for the Parish of Orleans. Prior to joining KSF, Mr. Mears worked at a boutique civil litigation firm in
New Orleans where his practice focused on employment and maritime personal injury matters in federal
and state courts.

Prior to attending law school, Mr. Mears received a Master of Business Administration from Tulane
University while working as a member of the women’s basketball coaching staff at Tulane.

Mr. Mears is admitted to practice in all Louisiana state courts and the United States District Court for
the Eastern District of Louisiana. Mr. Mears is a member of the Federal Bar Association, the American
Bar Association, the American Association for Justice, the New Orleans Bar Association, and the
Academy of New Orleans Trial Lawyers.


Matthew P. Woodard
Matthew Woodard, an associate in KSF's Louisiana office, focuses on federal securities class action
litigation. He is involved in cases pending before federal courts across the United States.

Mr. Woodard received his J.D. from Tulane University School of Law in 2012, where he served as the
Senior Managing Editor for the Tulane Journal of Law & Sexuality: Volume 21. He received his B.A. in
English, cum laude with honors, from The University of the South: Sewanee in 2009.

Mr. Woodard is admitted to practice in Louisiana and is a member of the Louisiana State Bar
Association.


STAFF ATTORNEYS

Tyler M. Landrieu
Tyler Landrieu is a staff attorney in the New Orleans office and focuses primarily on shareholder
derivative litigation, along with federal securities and antitrust class actions.

Prior to joining KSF, Mr. Landrieu served as judicial clerk for the Hon. Fredericka Homberg Wicker of
Louisiana’s Fifth Circuit Court of Appeal. Prior to that, he served as an Assistant District Attorney in
Orleans Parish.

Mr. Landrieu earned his J.D. from Loyola University New Orleans College of Law in 2018. Mr. Landrieu
earned his Bachelor’s degree in Economics from New York University in 2014. He earned distinction
as one of NYU’s Martin Luther King Scholars for Social Justice, for which received a full-tuition award.




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Prior to law school, Mr. Landrieu served as a research staffer for the United States Senate’s Committee
on Finance in Washington, D.C. His research focused primarily on federal tax legislation and policy. He
also made contributions to the Caucus Briefing Book on Tax Legislation for the 114th Congress.

Mr. Landrieu is admitted to practice in Louisiana.


Rhosean Scott
Rhosean Scott is a staff attorney who focuses primarily on federal securities class action litigation.

Prior to joining KSF, Ms. Scott worked at various boutique litigation firms representing plaintiffs in
complex class actions with a focus on securities litigation. She has extensive experience investigating
and conducting discovery in securities fraud and antitrust matters on behalf of individuals and
institutional investors.

Ms. Scott graduated from Tulane Law School in 2002, and served as a law clerk to the Hon. Charles
R. Jones on the Louisiana Fourth Circuit Court of Appeal. She received her B.A. in Economics from
Emory University.

Ms. Scott is admitted to practice in New York.


Caitlin Zetzmann
Caitlin Zetzmann is a staff attorney in the New Orleans office and focuses primarily on shareholder
derivative litigation, along with federal securities and antitrust class actions.

Ms. Zetzmann received her J.D. from Tulane Law School in 2015. During law school, Ms. Zetzmann
served as a managing editor and a board member of the Tulane Maritime Law Journal. Ms. Zetzmann
also served as a judicial extern for the Honorable Carl J. Barbier at the United States District Court for
the Eastern District of Louisiana.

Prior to joining KSF, Ms. Zetzmann focused her practice on estate planning matters and general
litigation.

Ms. Zetzmann received her B.S. in Political Science and Philosophy from Spring Hill College, cum
laude, and is admitted to practice in all Louisiana state courts.




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